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712 Bryant Street, Unit 6
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

FEDERAL DEPOSIT INSURANCE Case No,.23-cv-01606-JST
CORPORATION,
Plaintiff, CLERK’S NOTICE
v. Re: Dkt. No. 26

MICHAEL BRENT ROTHENBERG,

Defendant.

Before the Court is Plaintiff's Motion for Summary Judgment ECF No. 26. Pursuant to Federal
Rule of Civil Procedure 78(b) and Civil Local Rule 7-1(b), the Court finds the matter suitable for
disposition without oral argument. The hearing on this matter, currently scheduled for June 20,

2024, is hereby VACATED.

Dated: June 4, 2024
Mark B. Busby
Clerk, United States District Court

Kelly Collins, Deputy Clerk to the
Honorable JON S. TIGAR
510-637-1296

Clerk’s-Notice CRD
rev. June 2078

